

Matter of Salgado v Santiago (2019 NY Slip Op 09148)





Matter of Salgado v Santiago


2019 NY Slip Op 09148


Decided on December 20, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, LINDLEY, CURRAN, AND TROUTMAN, JJ.


1088 CAF 18-00752

[*1]IN THE MATTER OF TANYA M. SALGADO, PETITIONER-APPELLANT,
vSTEVEN R. SANTIAGO, RESPONDENT-RESPONDENT. (APPEAL NO. 3.) 






DAVID J. PAJAK, ALDEN, FOR PETITIONER-APPELLANT.
CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-RESPONDENT. 
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (JANE YOON OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Margaret O. Szczur, J.), entered November 30, 2017 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Salgado v Santiago ([appeal No. 1] — AD3d — [Dec. 20, 2019] [4th Dept 2019]).
Entered: December 20, 2019
Mark W. Bennett
Clerk of the Court








